      Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 1 of 23




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


 MARK ARMSTRONG AND                                     CIVIL ACTION NO. _______________
 ERIKA ARMSTRONG,

                Plaintiffs,                             COMPLAINT FOR DAMAGES AND
                                                        DEMAND FOR JURY
 v.

 WING ENTERPRISES, INC.,

                Defendant.




                           PLAINTIFFS’ ORIGINAL COMPLAINT


       Plaintiffs, MARK ARMSTRONG and ERIKA ARMSTRONG, allege as follows:

                                          A.     PARTIES

       1.      Plaintiffs are, and at all times herein mentioned were, individuals and citizens of the

State of Texas and residing within the Southern District of Texas, Houston Division.

       2.      Defendant, WING ENTERPRISES, INC., is, and at all times herein mentioned was,

a corporation incorporated under the laws of the State of Utah, with its principal place of business

in the State of Utah, and is transacting business in the State of Texas within the Southern District

of Texas, Houston Division.

                                     B.        JURISDICTION

       3.      This Court has jurisdiction over this cause pursuant to 28. U.S.C.§ 1332, since the

citizenship of Plaintiffs and Defendant are diverse, and the amount in controversy, exclusive of

interests and costs, exceeds the sum of Seventy-Five Thousand Dollars ($75,000.00).




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 1
      Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 2 of 23




                                          C.       VENUE

       4.       Venue is proper in the Southern District of Texas, Houston Division, under 28

U.S.C. § 1391(b)(2), since a substantial part of the events or omissions giving rise to this claim

occurred in this district.

                              D.       CONDITIONS PRECEDENT

        5.      All conditions precedent have been performed or have occurred.

                        E.     FIRST CAUSE OF ACTION – Negligence

       6.       Plaintiffs reallege paragraphs 1 through 4 and incorporate the same as a part hereof

as though fully set forth herein.

       7.       Plaintiffs are informed and believe, and based thereupon allege, that at all times

herein mentioned, Defendant, WING ENTERPRISES, INC., was engaged in the business of

manufacturing, compounding, packaging, labeling, designing, distributing, testing, inspecting,

constructing, fabricating, analyzing, recommending, merchandising, advertising, promoting,

displaying, maintaining, repairing, and selling to members of the general public, including Plaintiff

MARK ARMSTRONG herein, for consideration a certain product, known as a Little Giant Alta-

One ladder, serial number 11042S, which was purchased from The Home Depot in Montgomery

County, Texas on or about August, 2015.        At all times material hereto, Defendant advertised and

promoted the Little Giant Alta-One ladder as a multi-use ladder system made up of three major

components: one inner ladder assembly and two outer ladder assemblies that telescope over the

inner section. The inner and outer ladder assemblies work together with hinge locks and Lock Tabs

to adjust the ladder into different lengths and positions, including operating as an extension ladder.

       8.       Plaintiffs are informed and believe, and based thereupon allege, that at all times

herein mentioned, Defendant, WING ENTERPRISES, INC., owed a general duty of care to the




Armstrong                          COMPLAINT FOR DAMAGES - PAGE 2
      Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 3 of 23




users of its products, including Plaintiff MARK ARMSTRONG herein, to properly manufacture,

compound, package, label, design, distribute, test, inspect, construct, fabricate, analyze,

recommend, merchandise, advertise, promote, display, maintain, repair, and sell the hereinabove

described product.

       9.      On or about May 2, 2016, at 129 Harbour Town Circle, Montgomery, Texas 77356,

Plaintiff MARK ARMSTRONG was using the herein described product with one or more of the

extendable sections of the ladder extended and in a reasonable and foreseeable manner. Plaintiff

MARK ARMSTRONG had extended the ladder and engaged the Lock Tabs to secure the extended

section into place. The Lock Tabs on the herein described product model are designed such that

the pin portion of the Lock Tabs are urged into the holes by springs. The Lock Tabs are located

on either side of the ladder and are intended to lock the extension portion of the ladder into place.

As a direct and proximate result of the hereinbelow alleged defects directly and proximately caused

by Defendant in the manufacturing, compounding, packaging, labeling, designing, distributing,

testing, inspecting, constructing, fabricating, analyzing, recommending, merchandising,

advertising, promoting, displaying, maintaining, repairing, and selling of the hereinabove

described product, the Lock Tab pin system was defective in manufacture and design in that the

forces applied by the springs at each location were inconsistent and the forces required to fully

insert the Lock Tabs into their concomitant holes varied from lock to lock, at times being

insufficient to fully engaged the Lock Tabs, creating a false locking condition, whereby the Lock

Tabs would appear secure, but would not traverse completely into the hole to ensure a complete

lock. In the false locking condition, a user would be able to climb up the ladder, but upon

remounting the ladder, the incompletely inserted Lock Tab will disengage and cause the extended

portion of the ladder to telescope, thereby subjecting the user to the potential of serious bodily




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 3
      Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 4 of 23




injury. As a direct and proximate result of the use of the defective ladder, Plaintiff MARK

ARMSTRONG sustained permanent and debilitating injuries and damages, as herein alleged,

including, but not limited to, a traumatic brain injury.

       10.     As a direct and proximate result of the negligence and carelessness of Defendant,

WING ENTERPRISES, INC., as hereinabove alleged, Plaintiff MARK ARMSTRONG was

seriously injured in his health, strength, and activity, in all parts of his body, and sustained shock

and debilitating injury to his neurological system and person, all of which injuries have caused and

continue to cause Plaintiff great mental, physical, and nervous anxiety, and pain and suffering.

Plaintiffs are informed and believe, and based thereupon allege, that these injuries have resulted,

and will continue to result, in some permanent disability to Plaintiff MARK ARMSTRONG all to

his general damage, in an amount to be proven at time of trial.         Plaintiffs are informed and

believe, and based thereupon allege, that the amount in controversy herein is in excess of Seventy-

Five Thousand Dollars ($75,000.00) and within the jurisdiction of this Court.

       11.     As a further direct and proximate result of the acts of Defendant, WING

ENTERPRISES, INC., as hereinabove alleged, Plaintiff MARK ARMSTRONG was required to,

and did, employ physicians, surgeons, and therapists to treat and care for him and did sustain an

expense for said medical treatment and care, hospitalization, medicines, and for other and further

medical and incidental care and treatment for which Plaintiff MARK ARMSTRONG has incurred

liability in an amount unascertained. Plaintiffs pray leave of Court to amend and/or supplement

this Complaint to insert the reasonable value of all medical and additional incidental expenses

when same have been ascertained or to prove same at time of trial.

       12.     Plaintiffs are informed and believe, and based thereupon allege, that as a further

direct and proximate result of the acts of Defendant, WING ENTERPRISES, INC., as hereinabove




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 4
      Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 5 of 23




alleged, he will require additional medical care, medicines, and other and further medical attention

in the future and will incur liability therefor.   Plaintiffs pray leave of Court to amend and/or

supplement this Complaint to insert the actual and reasonable value of all the additional incidental

expenses when same have been ascertained or to prove same at time of trial.

       13.     As a further direct and proximate result of the acts of Defendant, WING

ENTERPRISES, INC., as hereinabove alleged, Plaintiff MARK ARMSTRONG was incapacitated

and prevented from following his usual occupation for an undetermined period of time, and, as

result thereof, Plaintiff suffered a loss of earnings and earning capacity and other financial losses

in an undetermined amount. Plaintiff MARK ARMSTRONG prays leave Court to amend and/or

supplement this Complaint to include the exact amount of the loss of earnings and earning capacity

when ascertained or to prove same at time of trial.

                   F.      SECOND CAUSE OF ACTION – Strict Liability

       14.     Plaintiffs reallege paragraphs 1 through 12 and incorporate the same as a part hereof

as though fully set forth herein.

       15.     Plaintiffs are informed and believe, and based thereupon allege, that at all times

herein mentioned, Defendant, WING ENTERPRISES, INC., was engaged in the business of

manufacturing, compounding, packaging, labeling, designing, distributing, testing, inspecting,

constructing, fabricating, analyzing, recommending, merchandising, advertising, promoting,

displaying, maintaining, repairing, and selling to members of the general public, including Plaintiff

MARK ARMSTRONG herein, for consideration a certain product, known as a Little Giant Alta-

One ladder, serial number 11042S, which was purchased from The Home Depot in Montgomery

County, Texas on or about August, 2015.      At all times material hereto, Defendant advertised and

promoted the Little Giant Alta-One ladder as a multi-use ladder system made up of three major




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 5
      Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 6 of 23




components: one inner ladder assembly and two outer ladder assemblies that telescope over the

inner section. The inner and outer ladder assemblies work together with hinge locks and Lock Tabs

to adjust the ladder into different lengths and positions, including operating as an extension ladder.

       16.     Plaintiffs are further informed and believe, and based thereupon allege, that at all

times herein mentioned, Defendant, WING ENTERPRISES, INC., knew that the hereinabove

described product was to be purchased and used by members of the general public, including

Plaintiff MARK ARMSTRONG herein, without inspection for defects.

       17.     Plaintiffs are further informed and believe, and based thereupon allege, that at all

times herein mentioned, the hereinabove described product, including all of its component parts,

ingredients and constituents, was unsafe for its intended use when used in a reasonably foreseeable

manner by reason of the hereinabove described defects in the product's manufacturing,

compounding, packaging, labeling, designing, distributing, testing, inspecting, constructing,

fabricating, analyzing, recommending, merchandising, advertising, promoting, displaying and

selling, in that the hereinabove described product, when used in an extended position, was likely

to collapse and the extended portion telescope, thereby causing serious injuries to the user.

       18.     On or about May 2, 2016, at 129 Harbour Town Circle, Montgomery, Texas 77356,

Plaintiff MARK ARMSTRONG was using the herein described product with one or more of the

extendable sections of the ladder extended and in a reasonable and foreseeable manner. Plaintiff

MARK ARMSTRONG had extended the ladder and engaged the Lock Tabs to secure the extended

section into place. The Lock Tabs on the herein described product model are designed such that

the pin portion of the Lock Tabs are urged into the holes by springs. The Lock Tabs are located

on either side of the ladder and are intended to lock the extension portion of the ladder into place.

As a direct and proximate result of the hereinbelow alleged defects directly and proximately caused




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 6
      Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 7 of 23




by Defendant in the manufacturing, compounding, packaging, labeling, designing, distributing,

testing, inspecting, constructing, fabricating, analyzing, recommending, merchandising,

advertising, promoting, displaying, maintaining, repairing, and selling of the hereinabove

described product, the Lock Tab pin system was defective in manufacture and design in that the

forces applied by the springs at each location were inconsistent and the forces required to fully

insert the Lock Tabs into their concomitant holes varied from lock to lock, at times being

insufficient to fully engaged the Lock Tabs, creating a false locking condition, whereby the Lock

Tabs would appear secure, but would not traverse completely into the hole to ensure a complete

lock. In the false locking condition, a user would be able to climb up the ladder, but upon

remounting the ladder, the incompletely inserted Lock Tab will disengage and cause the extended

portion of the ladder to telescope, thereby subjecting the user to the potential of serious bodily

injury. As a direct and proximate result of the use of the defective ladder, Plaintiff MARK

ARMSTRONG sustained permanent and debilitating injuries and damages, as herein alleged,

including, but not limited to, a traumatic brain injury.

       19.     As a result of the herein alleged defects in the product’s manufacture and design,

the subject ladder was dangerous to an extent beyond that which would be contemplated by an

ordinary user of the product with the ordinary knowledge common to the community as to the

ladder’s characteristics.

       20.     As a direct and proximate result of the negligence and carelessness of Defendant,

WING ENTERPRISES, INC., as hereinabove alleged, Plaintiff MARK ARMSTRONG was

seriously injured in his health, strength, and activity, in all parts of his body, and sustained shock

and debilitating injury to his neurological system and person, all of which injuries have caused and

continue to cause Plaintiff great mental, physical, and nervous anxiety, and pain and suffering.




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 7
       Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 8 of 23




Plaintiffs are informed and believe, and based thereupon allege, that these injuries have resulted,

and will continue to result, in some permanent disability to Plaintiff MARK ARMSTRONG all to

his general damage, in an amount to be proven at time of trial.         Plaintiffs are informed and

believe, and based thereupon allege, that the amount in controversy herein is in excess of Seventy-

Five Thousand Dollars ($75,000.00) and within the jurisdiction of this Court.

        21.    As a further direct and proximate result of the acts of Defendant, WING

ENTERPRISES, INC., as hereinabove alleged, Plaintiff MARK ARMSTRONG was required to,

and did, employ physicians, surgeons, and therapists to treat and care for him and did sustain an

expense for said medical treatment and care, hospitalization, medicines, and for other and further

medical and incidental care and treatment for which Plaintiff MARK ARMSTRONG has incurred

liability in an amount unascertained. Plaintiff MARK ARMSTRONG prays leave of Court to

amend and/or supplement this Complaint to insert the reasonable value of all medical and

incidental expenses when ascertained or to prove same at time of trial.

        22.    Plaintiffs are informed and believe, and based thereupon allege, that as a further

direct and proximate result of the acts of Defendant, WING ENTERPRISES, INC., as hereinabove

alleged, Plaintiff MARK ARMSTRONG will require additional medical care, medicines, and

other and further medical attention in the future and will incur liability therefor.   Plaintiffs pray

leave of Court to amend and/or supplement this Complaint to insert the actual and reasonable value

of all the additional incidental expenses when same have been ascertained or to prove same at time

of trial.

        23.    As a further direct and proximate result of the acts of Defendant, WING

ENTERPRISES, INC., as hereinabove alleged, Plaintiff MARK ARMSTRONG was incapacitated

and prevented from following his usual occupation for an undetermined period of time, and, as




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 8
      Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 9 of 23




result thereof, Plaintiff MARK ARMSTRONG suffered a loss of earnings and earning capacity

and other financial losses in an undetermined amount. Plaintiffs pray leave of Court to amend

and/or supplement this Complaint to include the exact amount of the loss of earnings and earning

capacity when ascertained or to prove same at time of trial.

       24.     Plaintiffs are informed and believe, and based thereupon allege, that the managing

agents and/or employees of Defendant, WING ENTERPRISES, INC., had actual knowledge of

the hereinabove described defects with the Little Giant Alta-One ladder and the specific defects

within the Lock Tab and spring system at the time Defendant imported, distributed, sold, and

recommended this specific ladder to Plaintiff MARK ARMSTRONG and other members of the

general public.

       25.        Plaintiffs are further informed and believe, and based thereupon allege, that

despite having actual knowledge of the hereinabove described defects, Defendant, WING

ENTERPRISES, INC., intentionally and recklessly failed to inform the public and consumers,

including Plaintiff MARK ARMSTRONG, of the known defects of the hereinabove described

ladder, as herein alleged.    Plaintiffs are further informed and believe, that at all times herein

mentioned, Defendant, WING ENTERPRISES, INC., acted with the intent of causing harm to

Plaintiff MARK ARMSTRONG, and, in so doing, acted with conscious disregard for the life,

health, safety, rights, and welfare of Plaintiffs, thereby entitling Plaintiffs to an award of punitive

and exemplary damages, all in an amount to be proven at the time of trial.

G.      THIRD CAUSE OF ACTION – Defect in Warnings/Instructions/Marketing Defect

       26.     Plaintiffs reallege paragraphs 1 through 23 and incorporate the same as a part hereof

as though fully set forth herein.

       27.     At all times herein mentioned, Defendant, WING ENTERPRISES, INC., and its




Armstrong                        COMPLAINT FOR DAMAGES - PAGE 9
     Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 10 of 23




agents, employees, and/or servants, designed and manufactured an extension ladder with a Lock

Tab pin system that used a pin portion of the Lock Tabs which is urged into the holes by springs.

The Lock Tabs are located on either side of the ladder and are intended to lock the extension

portion of the ladder into place. The Lock Tabs used springs that had inconsistent forces so that

the force required to fully insert the locking pins into their concomitant holes varied from lock to

lock, at times being insufficient to fully engage the Lock Tabs, creating a false locking condition,

whereby the Lock Tabs would appear secure, but would not traverse completely into the hole to

ensure a complete lock. In the false locking condition, a user would be able to climb up the ladder,

but upon remounting the ladder, the incompletely inserted Lock Tab will disengage and cause the

extended portion of the ladder to telescope, thereby subjecting the user to the potential of serious

bodily injury.

       28.       Defendant, WING ENTERPRISES, INC., designed, manufactured, and marketed

the subject ladder with the Lock Tab system using springs with inconsistent forces.      The subject

ladder was distributed by Defendant, WING ENTERPRISES, INC., with the Lock Tab system

using springs with inconsistent forces.

       29.       Defendant, WING ENTERPRISES, INC., failed to give adequate warnings of the

inconsistency of the Lock Tab spring force and the tendency to create a false locking condition,

which caused the product to be unreasonably dangerous.

       30.       The subject ladder was unreasonably dangerous as marketed as a result of the failure

of Defendant, WING ENTERPRISES, INC., to give adequate warnings of the dangers of the Lock

Tab system of the subject ladder that were known or, by the application of reasonably developed

human skill and foresight, should have been known.

       31.       The subject ladder was unreasonably dangerous as marketed as a result of the failure




Armstrong                        COMPLAINT FOR DAMAGES - PAGE 10
     Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 11 of 23




of Defendant, WING ENTERPRISES, INC., to give adequate instructions to avoid the subject

ladder’s dangers of the Lock Tab system of the subject ladder that were known or, by the

application of reasonably developed human skill and foresight, should have been known.

       32.     As a direct and proximate result of the defect in the warnings, instructions, and

marketing of the subject ladder by Defendant, WING ENTERPRISES, INC., as hereinabove

alleged, Plaintiff MARK ARMSTRONG sustained permanent and debilitating injuries and

damages, as herein alleged, including, but not limited to, a traumatic brain injury.

H.        FOURTH CAUSE OF ACTION – Breach of Implied Warranty of Merchantability

       33.     Plaintiffs reallege paragraphs 1 through 31 and incorporate the same as a part hereof

as though fully set forth herein.

       34.     Prior to and at the time Defendant, WING ENTERPRISES, INC, and its agents,

employees, and/or servants designed, manufactured, imported, and distributed the hereinabove

described product to The Home Depot for sale to members of the general public for use, as herein

alleged, Defendant impliedly warranted to members of the general public, including Plaintiffs

herein, that the hereinabove described product was of merchantable quality and was fit for the use

for which it was intended by Defendant as an extension ladder with a consistently functioning

Lock Tab system.

       35.     Plaintiff MARK ARMSTRONG relied on the skill and judgment of Defendant in

using the hereinabove described product for the purpose for which it was intended to be used and,

on the date of the subject incident, was using the hereinabove described product in its intended

manner.

       36.     Plaintiffs are informed and believe, and based thereupon allege, that at the time the

hereinabove described product was manufactured, compounded, packaged, labeled, designed,




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 11
     Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 12 of 23




distributed, tested, inspected, constructed, fabricated, analyzed, recommended, mechanized,

advertised, promoted, displayed, and made available for sale by Defendant, the hereinabove

described product was not fit for its intended purpose, nor of merchantable quality as warranted

by Defendant in that the Lock Tab system failed to properly perform due to inconsistent spring

forces that caused or contributed to a false locking condition, as hereinabove alleged. As a direct

and proximate result of Defendant’s breach, Plaintiff MARK ARMSTRONG sustained permanent

and debilitating injuries and damages, as herein alleged, including, but not limited to, a traumatic

brain injury.

          37.   The hereinabove described inconsistency in the spring force of the Lock Tab

system, causing or contributing to a false locking condition, was a defect of the subject ladder that

rendered it unfit for the purpose of a system to secure the extension or fly section of the subject

ladder.

          38.   Plaintiffs are informed and believe, and based thereupon allege, that there is an

alternative safer design that would, with reasonable probability, have prevented or significantly

reduced the risk of the telescoping of the fly section without substantially impairing the utility of

the subject ladder and such alternative safer design was economically and technologically feasible

at the time the subject ladder left the control of Defendant, WING ENTERPRISES, INC., by the

application of existing or reasonably achievable scientific knowledge.

          39.   As a direct and proximate result of the defects in the hereinabove described product,

as hereinabove alleged, resulting in Defendant’s breach of the implied warranty of merchantability,

as hereinabove alleged, Plaintiff MARK ARMSTRONG sustained permanent and debilitating

injuries and damages, as herein alleged, including, but not limited to, a traumatic brain injury.




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 12
     Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 13 of 23




                I.      FIFTH CAUSE OF ACTION – Breach of Implied Warranty of
                                 Fitness for a Particular Purpose

          40.        Plaintiffs reallege paragraphs 1 through 38 and incorporate the same as a part hereof

as though fully set forth herein.

          41.        Prior to and at the time Defendant, WING ENTERPRISES, INC, and its agents,

employees, and/or servants designed, manufactured, imported, and distributed the hereinabove

described product to The Home Depot for sale to members of the general public for use, as herein

alleged, Defendant impliedly warranted to members of the general public, including Plaintiffs

herein, that the hereinabove described product was fit for the purpose of an extension ladder with

a Lock Tab system to secure the extension or fly section when the ladder was extended and in use.

          42.        Through its web marketing and advertising, Defendant, WING ENTERPRISES,

INC., represented that it knew that the subject ladder was to be used as an extension ladder with a

Lock Tab system to secure the extension or fly section when the ladder was extended and in use.

          43.        Through its web marketing and advertising, Defendant, WING ENTERPRISES,

INC., requested that members of the general public, including Plaintiffs herein, rely on the skill

and judgment of Defendant, WING ENTERPRISES, INC., to select and purchase the subject

ladder.

          44.        Plaintiff MARK ARMSTRONG relied on the skill and judgment of Defendant in

using the hereinabove described product for the purpose for which it was intended to be used and,

on the date of the subject incident, was using the hereinabove described product in its intended

manner.

          45.        Plaintiffs are informed and believe, and based thereupon allege, that at the time the

hereinabove described product was manufactured, compounded, packaged, labeled, designed,

distributed, tested, inspected, constructed, fabricated, analyzed, recommended, mechanized,



Armstrong                            COMPLAINT FOR DAMAGES - PAGE 13
     Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 14 of 23




advertised, promoted, displayed, and made available for sale by Defendant, WING

ENTERPRISES, INC., the hereinabove described product was not fit for its intended purpose, as

warranted by Defendant, in that the Lock Tab system failed to properly perform due to inconsistent

spring forces that caused or contributed to a false locking condition, as hereinabove alleged. As

a direct and proximate result of Defendant’s breach, Plaintiff MARK ARMSTRONG sustained

permanent and debilitating injuries and damages, as herein alleged, including, but not limited to,

a traumatic brain injury.

          46.        The hereinabove described inconsistency in the spring force of the Lock Tab

system, causing or contributing to a false locking condition, was a defect of the subject ladder that

rendered it unfit for the purpose of a system to secure the extension or fly section of the subject

ladder.

          47.        As a direct and proximate result of the defects in the hereinabove described product,

as hereinabove alleged, resulting in Defendant’s breach of the implied warranty of fitness for a

particular purpose, as hereinabove alleged, Plaintiff MARK ARMSTRONG sustained permanent

and debilitating injuries and damages, as herein alleged, including, but not limited to, a traumatic

brain injury.

                J.        SIXTH CAUSE OF ACTION – Breach of Express Warranty

          48.        Plaintiffs reallege paragraphs 1 through 46 and incorporate the same as a part hereof

as though fully set forth herein.

          49.        Prior to and at the time Defendant, WING ENTERPRISES, INC, and its agents,

employees, and/or servants sold the hereinabove described product to members of the general

public for use, as hereinabove alleged, Defendant expressly warranted to members of the general

public, including Plaintiff herein, that the hereinabove described product was of merchantable




Armstrong                            COMPLAINT FOR DAMAGES - PAGE 14
     Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 15 of 23




quality and was safe for the use for which it was intended by Defendant.

       50.     Plaintiffs are informed and believe, and based thereupon allege, that at the time the

hereinabove described product was manufactured, compounded, packaged, labeled, designed,

distributed, tested, inspected, constructed, fabricated, analyzed, recommended, merchandised,

advertised, promoted, displayed, and made available for sale by Defendant, the hereinabove

described product was not safe for its intended purpose, nor of merchantable quality as warranted

by Defendant, in that the hereinabove described product did not properly perform, as hereinabove

alleged. As a direct and proximate result of Defendant’s breach, Plaintiff MARK ARMSTRONG

sustained permanent and debilitating injuries and damages, as herein alleged, including, but not

limited to, a traumatic brain injury.

       51.     By this Complaint, Plaintiffs hereby notify Defendant of the breach of express

warranty, as herein alleged.

       52.     As a direct and proximate result of the defects in the hereinabove described product,

as hereinabove alleged, resulting in Defendant’s breach of express warranty, as hereinabove

alleged, Plaintiff MARK ARMSTRONG sustained permanent and debilitating injuries and

damages, as herein alleged, including, but not limited to, a traumatic brain injury.

        K.      SEVENTH CAUSE OF ACTION – Texas Deceptive Trade Practices

       53.     Plaintiffs reallege paragraphs 1 through 51 and incorporate the same as a part hereof

as though fully set forth herein.

       54.     Plaintiffs are consumers under the Texas Deceptive Trade Practices Act (“DTPA”),

because Plaintiffs are individuals who sought and acquired goods by purchase.

       55.     Defendant, WING ENTERPRISES, INC., is a corporation that can be sued under

the DTPA.




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 15
     Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 16 of 23




       56.     At all times material hereto, Defendant, WING ENTERPRISES, INC., violated the

DTPA when Defendant engaged in false, misleading, or deceptive acts or practices that Plaintiff

MARK ARMSTRONG relied on to Plaintiff’s detriment.                    Specifically, Defendant (1)

represented that the subject ladder had sponsorship, approval, characteristics, ingredients, uses,

benefits, or quantities which it did not have; (2) represented that the subject ladder was of a

particular standard, quality, grade, style, or model that it was not; and (3) failed to disclose

information about the subject ladder that was known at the time of the transaction for Plaintiffs’

purchase of the subject ladder, which failure to disclose was intended to induce Plaintiffs to enter

into a transaction for the purchase of the subject ladder that Plaintiffs would not have entered into

had the information been disclosed.

       57.     At all times material hereto, Defendant, WING ENTERPRISES, Inc., further

violated the DTPA when Defendant breached express and implied warranties.

       58.     Prior to and at the time Defendant, WING ENTERPRISES, INC, and its agents,

employees, and/or servants designed, manufactured, imported, and distributed the hereinabove

described product to The Home Depot for sale to members of the general public for use, as herein

alleged, Defendant impliedly warranted to members of the general public, including Plaintiffs

herein, that the hereinabove described product was of merchantable quality and was fit for the use

for which it was intended by Defendant as an extension ladder with a consistently functioning

Lock Tab system.

       59.     Plaintiff MARK ARMSTRONG relied on the skill and judgment of Defendant in

using the hereinabove described product for the purpose for which it was intended to be used and,

on the date of the subject incident, was using the hereinabove described product in its intended

manner.




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 16
     Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 17 of 23




          60.   Plaintiffs are informed and believe, and based thereupon allege, that at the time the

hereinabove described product was manufactured, compounded, packaged, labeled, designed,

distributed, tested, inspected, constructed, fabricated, analyzed, recommended, mechanized,

advertised, promoted, displayed, and made available for sale by Defendant, the hereinabove

described product was not fit for its intended purpose, nor of merchantable quality as warranted

by Defendant in that the Lock Tab system failed to properly perform due to inconsistent spring

forces that caused or contributed to a false locking condition, as hereinabove alleged. As a direct

and proximate result of Defendant’s breach, Plaintiff MARK ARMSTRONG sustained permanent

and debilitating injuries and damages, as herein alleged, including, but not limited to, a traumatic

brain injury.

          61.   Prior to and at the time Defendant, WING ENTERPRISES, INC, and its agents,

employees, and/or servants designed, manufactured, imported, and distributed the hereinabove

described product to The Home Depot for sale to members of the general public for use, as herein

alleged, Defendant impliedly warranted to members of the general public, including Plaintiffs

herein, that the hereinabove described product was fit for the purpose of an extension ladder with

a Lock Tab system to secure the extension or fly section when the ladder was extended and in use.

          62.   Through its web marketing and advertising, Defendant, WING ENTERPRISES,

INC., represented that it knew that the subject ladder was to be used as an extension ladder with a

Lock Tab system to secure the extension or fly section when the ladder was extended and in use.

          63.   Through its web marketing and advertising, Defendant, WING ENTERPRISES,

INC., requested that members of the general public, including Plaintiffs herein, rely on the skill

and judgment of Defendant, WING ENTERPRISES, INC., to select and purchase the subject

ladder.




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 17
     Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 18 of 23




       64.     Plaintiff MARK ARMSTRONG relied on the skill and judgment of Defendant in

using the hereinabove described product for the purpose for which it was intended to be used and,

on the date of the subject incident, was using the hereinabove described product in its intended

manner.

       65.     Plaintiffs are informed and believe, and based thereupon allege, that at the time the

hereinabove described product was manufactured, compounded, packaged, labeled, designed,

distributed, tested, inspected, constructed, fabricated, analyzed, recommended, mechanized,

advertised, promoted, displayed, and made available for sale by Defendant, WING

ENTERPRISES, INC., the hereinabove described product was not fit for its intended purpose, as

warranted by Defendant, in that the Lock Tab system failed to properly perform due to inconsistent

spring forces that caused or contributed to a false locking condition, as hereinabove alleged. As

a direct and proximate result of Defendant’s breach, Plaintiff MARK ARMSTRONG sustained

permanent and debilitating injuries and damages, as herein alleged, including, but not limited to,

a traumatic brain injury.

       66.     Prior to and at the time Defendant, WING ENTERPRISES, INC, and its agents,

employees, and/or servants sold the hereinabove described product to members of the general

public for use, as hereinabove alleged, Defendant expressly warranted to members of the general

public, including Plaintiff herein, that the hereinabove described product was of merchantable

quality and was safe for the use for which it was intended by Defendant.

       67.     Plaintiffs are informed and believe, and based thereupon allege, that at the time the

hereinabove described product was manufactured, compounded, packaged, labeled, designed,

distributed, tested, inspected, constructed, fabricated, analyzed, recommended, merchandised,

advertised, promoted, displayed, and made available for sale by Defendant, the hereinabove




Armstrong                      COMPLAINT FOR DAMAGES - PAGE 18
     Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 19 of 23




described product was not safe for its intended purpose, nor of merchantable quality as warranted

by Defendant, in that the hereinabove described product did not properly perform, as hereinabove

alleged. As a direct and proximate result of Defendant’s breach, Plaintiff MARK ARMSTRONG

sustained permanent and debilitating injuries and damages, as herein alleged, including, but not

limited to, a traumatic brain injury.

       68.       At all times herein mentioned, Defendant, WING ENTERPRISES, INC., and its

agents, employees, and/or servants, designed and manufactured an extension ladder with a Lock

Tab pin system that used a pin portion of the Lock Tabs which is urged into the holes by springs.

The Lock Tabs are located on either side of the ladder and are intended to lock the extension

portion of the ladder into place. The Lock Tabs used springs that had inconsistent forces so that

the force required to fully insert the locking pins into their concomitant holes varied from lock to

lock, at times being insufficient to fully engage the Lock Tabs, creating a false locking condition,

whereby the Lock Tabs would appear secure, but would not traverse completely into the hole to

ensure a complete lock. In the false locking condition, a user would be able to climb up the ladder,

but upon remounting the ladder, the incompletely inserted Lock Tab will disengage and cause the

extended portion of the ladder to telescope, thereby subjecting the user to the potential of serious

bodily injury.

       69.       The herein described inconsistency in the spring force of the Lock Tab system,

causing or contributing to a false locking condition, was a defect of the subject ladder that rendered

it unfit for the purpose of a system to secure the extension or fly section of the subject ladder.

       70.       Defendant, WING ENTERPRISES, INC., designed, manufactured, and marketed

the subject ladder with the Lock Tab system using springs with inconsistent forces.       The subject

ladder was distributed by Defendant, WING ENTERPRISES, INC., with the Lock Tab system




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 19
     Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 20 of 23




using springs with inconsistent forces.

       71.       It was impracticable for Plaintiffs to give Defendant, WING ENTERPRISES, INC.,

written notice under Texas Business & Commerce Code § 17.505(a), because Plaintiffs needed to

file this suit to prevent the expiration of the statute of limitations.   Therefore, written notice was

not required, pursuant to Texas Business & Commerce Code § 17.505(b).

       72.       Defendant, WING ENTERPRISES, INC., acted knowingly and/or intentionally,

which entitles Plaintiff MARK ARMSTRONG to recover mental anguish damages under Texas

Business & Commerce Code § 17.50(b)(1).

       73.       Defendant, WING ENTERPRISES, INC., acted knowingly, which entitles Plaintiff

MARK BROWN to recover treble economic damages under Texas Business & Commerce Code

§ 17.50(b)(1).

       74.       Defendant, WING ENTERPRISES, INC., acted intentionally, which entitles

Plaintiff to recover treble economic and mental anguish damages under Texas Business &

Commerce Code § 17.50(b)(1)

       75.       Plaintiff MARK ARMSTRONG is entitled to recover reasonable and necessary

attorneys’ fees for prosecuting this suit.

                    L.     Eighth CAUSE OF ACTION – Loss of Consortium

       76.       Plaintiffs reallege paragraphs 1 through 74 and incorporate the same as a part hereof

as though fully set forth herein.

       77.       Plaintiffs, MARK ARMSTRONG and ERIKA ARMSTRONG are, and at all times

relevant to this action were, husband and wife.

       78.       Prior to the injuries proximately caused by Defendant, WING ENTERPRISES,

INC., as herein alleged, Plaintiff MARK ARMSTRONG was able to and did perform his duties as




Armstrong                        COMPLAINT FOR DAMAGES - PAGE 20
     Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 21 of 23




a husband.     Subsequent to being injured, and as a proximate result thereof, Plaintiff MARK

ARMSTRONG has been unable to perform his necessary duties as a husband and the work and

services usually performed in the care, maintenance, and management of the family home, and he

will be unable to perform such work, services, and duties in the future.       By reason thereof,

Plaintiff ERIKA ARMSTRONG has been and will continue to be permanently deprived of the

consortium of her spouse, Plaintiff MARK ARMSTRONG, including, but not limited to, the

performance of his necessary duties, obligations, and responsibilities, and the service, love,

companionship, comfort, affection, society, sexual relations, and solace of Plaintiff ERIKA

ARMSTRONG as a husband, all to Plaintiff ERIKA ARMSTRONG's damage in an amount in

excess of $75,000.00, and within the jurisdiction of this Court, and in an amount to be determined

at the time of trial.

                              M.      DEMAND FOR JURY TRIAL

        79.      Plaintiffs, MARK ARMSTRONG and ERIKA ARMSTRONG, hereby demand a

jury trial, pursuant to Rule 38 of the Federal Rules of Civil Procedure.

                                        N.     DAMAGES

        80.      As a direct and proximate result of Defendant WING ENTERPRISES, INC.’s

conduct, Plaintiffs have suffered, and will continue to suffer in the future, the following injures

and damages:

                 a. Medical and related expenses;

                 b. Physical pain and suffering;

                 c. Mental anguish;

                 d. Physical impairment;

                 e. Physical disfigurement;




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 21
     Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 22 of 23




                 f. Lost earnings;

                 g. Loss of earning capacity;

                 h. Loss of consortium;

                 i. Treble damages; and

                 j. Punitive damages.

                                          O.     PRAYER

         81.     For the above reasons, Plaintiffs, MARK ARMSTRONG and ERIKA

ARMSTRONG, pray that Defendant, WING ENTERPRISES, INC., be cited to appear and answer

herein and that upon final trial, Plaintiffs have judgment against Defendant for the following:

                 a.     Actual damages in an amount in excess of $75,000.00, all in an amount to
                        be proven at time of trial;

                 b.     Pre-judgment and postjudgment interest;

                 c.     Costs of suit;

                 d.     Treble damages, in an amount to be proven at the time of trial;

                 e.     Attorneys’ fees, in an amount to be proven at the time of trial;

                 f.     Exemplary and punitive damages, all in an amount to be proven at the time
                        of trial; and

                 g.     All such other and further relief to which Plaintiffs may show themselves
                        justly entitled under law or in equity.


Dated:      April 19, 2018




Armstrong                       COMPLAINT FOR DAMAGES - PAGE 22
     Case 4:18-cv-01238 Document 1 Filed on 04/19/18 in TXSD Page 23 of 23




                                     Respectfully Submitted,

                                     THE AMARO LAW FIRM




                                     R. James Amaro
                                     SBN: 24036134
                                     Ashlee E. Dunham
                                     SBN: 24084844
                                     2500 E. TC Jester Blvd., Ste. 525
                                     Houston, Texas 77008
                                     713.864.1941 (Tel.)
                                     713.864.1942 (Fax)
                                     fax@amarolawfirm.com



                                     LAW OFFICES OF FRIEDBERG & BUNGE



                                     /s/ THOMAS F. FRIEDBERG, ESQ.
                                     THOMAS F. FRIEDBERG, ESQ.
                                     610 West Ash Street, Suite 1400
                                     P.O. Box 6814
                                     San Diego, California 92101
                                     619.557.0101 (Tel.)
                                     619.557.0560 (Fax)
                                     tom@lawofficefb.com

                                     ATTORNEYS FOR PLAINTIFFS
                                     MARK ARMSTRONG and ERIKA
                                     ARMSTRONG




Armstrong                COMPLAINT FOR DAMAGES - PAGE 23
